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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF INDIANA
                           SOUTH BEND DIVISION


 UNITED STATES OF AMERICA                )
                                         )
             v.                          )        CAUSE NO. 3:12-CR-91 RM
                                         )
 JOSEPH GIBBS (07)                       )


                                      ORDER

        No objections have been filed to the magistrate judge’s findings and

 recommendations upon a plea of guilty issued on November 19, 2012.

 Accordingly, the court ADOPTS those findings and recommendations [docket #

 209], ACCEPTS defendant Joseph Gibbs’ plea of guilty, and FINDS the defendant

 guilty of Count 1 of the Indictment, in violation of 21 U.S.C. § 846 and 18 U.S.C.

 § 2.

        SO ORDERED.

        ENTERED:     December 12, 2012



                                  /s/ Robert L. Miller, Jr.
                                Judge, United States District Court
                                Northern District of Indiana
